The relief described hereinbelow is SO ORDERED

Done this 20th day of April, 2021.




William R. Sawyer
United States Bankruptcy Judge
_______________________________________________________________



                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE MIDDLE DISTRICT OF ALABAMA
                                      SOUTHERN DIVISION

IN RE:                                               )
                                                     )   BANKRUPTCY CASE NUMBER
TONY R. MONEY,                                       )   20-11536
                                                     )   CHAPTER 7 CASE
         DEBTOR.                                     )


TONY R. MONEY,                                       )
                                                     )
         PLAINTIFF,                                  )
                                                     )
VS.                                                  )   A.P. NO.         20-01004
                                                     )
BANK OF AMERICA, N.A.,                               )
                                                     )
         DEFENDANT.                                  )

         ORDER AVOIDING JUDICIAL LIEN OF SOUTHEAST ALABAMA MEDICAL CENTER

         In the above-styled adversary proceeding, the Plaintiff, TONY R. MONEY, filed a complaint to avoid

a judicial lien. The defendant, having received service of the summons and complaint, has no defense to the

relief prayed for in the complaint.

         Therefore, it is ORDERED, ADJUDGED AND DECREED that the judgment of Bank of America,



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N.A., recorded on May 18, 2018, in the Probate Office of Houston County, Alabama, at Judgment Book 144,

Page 522, is avoided, both to the extent allowed by 11 U.S.C. ' 522 as it would impair the Debtor’s

exemptions and as allowed by U.S.C. ' 506 as evidence of any lien against the Debtor’s present assets or assets

acquired hereafter.

        It is further ORDERED, ADJUDGED AND DECREED that the Debtor may obtain a certified copy

of this order and thereafter record same in the Probate Office of Houston County, Alabama, for the purpose of

placing the Defendant, Bank of America, N.A., and future creditors on notice liability that the aforementioned

judgment has been discharged and this particular judgment would no longer constitute a basis to impair either

the plaintiff/debtor=s present assets or any assets which he may acquire hereinafter.

                                         ### END OF ORDER ###

This Order prepared and submitted by:

/s/ J. Kaz Espy
J. Kaz Espy (ASB-0122-A63E)
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This Order consented to by:

/s/ Amanda M. Beckett
Amanda M. Beckett (ASB-1884-N75B)
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cc:     Debtor
        Bank of America, N.A.
        Trustee
        Bankruptcy Administrator



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